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  AO 245B-CAED (Rev. 02/2018) Sheet 1 - Judgment in a Criminal Case



                              UNITED STATES DISTRICT COURT
                                                 Eastern District of California
               UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                          v.                                                Case Number: 1:18CR00220-001
            RUBEN GONZALO DURAN SANCHEZ                                     Defendant's Attorney: Carrie McCreary, Appointed

  THE DEFENDANT:
       pleaded guilty to count One of the Indictment.
       pleaded nolo contendere to count(s)      , which was accepted by the court.
       was found guilty on count(s)     after a plea of not guilty.
  The defendant is adjudicated guilty of these offenses:
  Title & Section                   Nature of Offense                                                          Offense Ended   Count
                                 Conspiracy to Distribute and Possess with Intent to Distribute
  21 U.S.C. §§ 846 and 841(b)(1)
                                 Methamphetamine                                                               9/26/2018       One
  (A)
                                 (Class A Felony)

         The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
  Sentencing Reform Act of 1984.

       The defendant has been found not guilty on count(s)      .
       Counts Two, Three and Four are dismissed on the motion of the United States.
       Indictment is to be dismissed by District Court on motion of the United States.
       Appeal rights given.                       Appeal rights waived.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
  residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
  ordered to pay restitution or fine, the defendant must notify the court and United States attorney of material changes in economic
  circumstances.
                                                                           1/27/2020
                                                                           Date of Imposition of Judgment
                                                                           /s/ Lawrence J. O'Neill
                                                                           Signature of Judicial Officer
                                                                           Lawrence J. O'Neill, United States District Judge
                                                                           Name & Title of Judicial Officer
                                                                           1/30/2020
                                                                           Date




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  AO 245B-CAED (Rev. 02/2018) Sheet 2 - Imprisonment
  DEFENDANT: RUBEN GONZALO DURAN SANCHEZ                                                                                        Page 2 of 7
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                                                                IMPRISONMENT

  The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
  263 Months.

        No TSR: Defendant shall cooperate in the collection of DNA.

        The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends that the defendant be incarcerated in the facility located at Taft, California, but only insofar as this
        accords with security classification and space availability. The Court recommends the defendant participate in the 500-Hour
        Bureau of Prisons Substance Abuse Treatment Program.

        The defendant is remanded to the custody of the United States Marshal.

            The defendant shall surrender to the United States Marshal for this district
                    at       on    .
                    as notified by the United States Marshal.

            The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                    before        on   .
                    as notified by the United States Marshal.
                    as notified by the Probation or Pretrial Services Officer.
            If no such institution has been designated, to the United States Marshal for this district.

                                                                    RETURN
  I have executed this judgment as follows:




             Defendant delivered on                                                      to
  at                                                    , with a certified copy of this judgment.



                                                                            United States Marshal


                                                                            By Deputy United States Marshal




                                                                                                                                              /
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  AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
  DEFENDANT: RUBEN GONZALO DURAN SANCHEZ                                                                                          Page 3 of 7
  CASE NUMBER: 1:18CR00220-001

                                                             SUPERVISED RELEASE
  Upon release from imprisonment, you will be on supervised release for a term of :
  60 Months, unsupervised if the defendant is deported..

                                                       MANDATORY CONDITIONS
  You must not commit another federal, state or local crime.
  You must not unlawfully possess a controlled substance.
  You must refrain from any unlawful use of controlled substance. You must submit to one drug test within 15 days of release from
  imprisonment and at least two (2) periodic drug tests thereafter, not to exceed four (4) drug tests per month.



        The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
        abuse.

        You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
        restitution.

        You must cooperate in the collection of DNA as directed by the probation officer.

        You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
        directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
        reside, work, are a student, or were convicted of a qualifying offense.

        You must participate in an approved program for domestic violence.

  You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
  attached page.




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  AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
  DEFENDANT: RUBEN GONZALO DURAN SANCHEZ                                                                                              Page 4 of 7
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                                          STANDARD CONDITIONS OF SUPERVISION
  As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
  imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
  by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

  1.        You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
            release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
            different time frame.
  2.        After initially reporting to the probation office, you will receive instructions from the Court or the probation officer about
            how and when you must report to the probation officer, and you must report to the probation officer as instructed.
  3.        You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
            from the Court or the probation officer.
  4.        You must answer truthfully the questions asked by the probation officer.
  5.        You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
            arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
            notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
            officer within 72 hours of becoming aware of a change or expected change.
  6.        You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
            officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  7.        You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
            from doing so. If you do not have full-time employment, you must try to find full-time employment, unless the probation
            officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
            or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
            probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
            officer within 72 hours of becoming aware of a change or expected change.
  8.        You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
            been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
            permission of the probation officer.
  9.        If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
  10.       You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
            that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person, such as
            nunchakus or tasers).
  11.       You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
            without first getting the permission of the Court.
  12.       If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
            may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
            contact the person and confirm that you have notified the person about the risk.
  13.       You must follow the instructions of the probation officer related to the conditions of supervision.
                                                       U.S. Probation Office Use Only
  A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
  judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
  Release Conditions, available at: www.uscourts.gov.

  Defendant's Signature _____________________________ Date _________________




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  AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
  DEFENDANT: RUBEN GONZALO DURAN SANCHEZ                                                                                               Page 5 of 7
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                                            SPECIAL CONDITIONS OF SUPERVISION
  1.        The defendant shall submit to the search of his person, property, house, residence, vehicle, papers, computer, other electronic
            communication or data storage devices or media and effects at any time, with or without a warrant, by any law enforcement
            or probation officer in the lawful discharge of the officer's supervision functions with reasonable suspicion concerning
            unlawful conduct or a violation of a condition of probation or supervised release. Failure to submit to a search may be
            grounds for revocation. The defendant shall warn any other residents that the premises may be subject to searches pursuant to
            this condition.
  2.        The defendant shall provide the probation officer with access to any requested financial information.
  3.        As directed by the probation officer, the defendant shall participate in an outpatient correctional treatment program to obtain
            assistance for drug or alcohol abuse.
  4.        As directed by the probation officer, the defendant shall participate in a program of testing (i.e. breath, urine, sweat patch,
            etc.) to determine if he has reverted to the use of drugs or alcohol.
  5.        The defendant shall not possess or have access to any cellular phone without the advance permission of the probation officer.
            The defendant shall provide all billing records for such devices, whether used for business or personal, to the probation
            officer upon request.
  6.        The defendant shall abstain from the use of alcoholic beverages and shall not enter those places where alcohol is the chief
            item of sale.
  7.        Pursuant to 18 USC 3583(d)(3), upon completion of the term of imprisonment, the defendant is to be surrendered to a duly
            authorized Immigration official for deportation proceedings in accordance with the established procedures provided by the
            Immigration and Nationality Act. If ordered deported, the defendant, during the term of supervised release, shall remain
            outside the United States and shall not re-enter the United States without the consent of the Secretary of the Department of
            Homeland Security of the United States.

            Upon any re-entry, lawful or unlawful, into the United States, the defendant shall report in person to the United States
            Probation Office in the Eastern District of California within 72 hours.
  8.        As directed by the probation officer, the defendant shall participate in a co-payment plan for treatment or testing and shall
            make payment directly to the vendor under contract with the United States Probation Office of up to $25 per month.
  9.        The defendant shall register, as required in the jurisdiction in which he resides, as a drug offender.




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  AO 245B-CAED (Rev. 02/2018) Sheet 5 - Criminal Monetary Penalties
  DEFENDANT: RUBEN GONZALO DURAN SANCHEZ                                                                                            Page 6 of 7
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                                                 CRIMINAL MONETARY PENALTIES

            The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                               Assessment                       Fine                Restitution
            TOTALS                                               $100.00
        The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO 245C) will be entered
        after such determination.


        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
        otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
        victims must be paid before the United States is paid.


        Restitution amount ordered pursuant to plea agreement $

        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
        subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                The interest requirement is waived for the               fine         restitution

                The interest requirement for the              fine         restitution is modified as follows:


        If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
        through the Bureau of Prisons Inmate Financial Responsibility Program.

        If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
        shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
  *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
  or after September 13, 1994, but before April 23, 1996.




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  AO 245B-CAED (Rev. 02/2018) Sheet 6 - Schedule of Payments
  DEFENDANT: RUBEN GONZALO DURAN SANCHEZ                                                                                             Page 7 of 7
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                                                        SCHEDULE OF PAYMENTS
            Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

  A.                Lump sum payment of $ 100.00               due immediately, balance due
                            Not later than      , or
                            in accordance              C,          D,         E,or           F below; or
  B.                Payment to begin immediately (may be combined with                  C,           D,    or   F below); or

  C.                Payment in equal    (e.g. weekly, monthly, quarterly) installments of $      over a period of        (e.g. months or
                    years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

  D.                Payment in equal    (e.g. weekly, monthly, quarterly) installments of $    over a period of     (e.g. months or
                    years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

  E.                Payment during the term of supervised release/probation will commence within      (e.g. 30 or 60 days) after release
                    from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                    that time; or

  F.                Special instructions regarding the payment of criminal monetary penalties:

  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
  due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
  Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

            Joint and Several

  Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
  and corresponding payee, if appropriate:

            The defendant shall pay the cost of prosecution.

            The defendant shall pay the following court cost(s):

            The defendant shall forfeit the defendant's interest in the following property to the United States: The Preliminary Order of
            Forfeiture is hereby made final as to this defendant and shall be incorporated into the Judgment.

  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
  (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court
  costs.




                                                                                                                                                   /
